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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    JOSE FERNANDO SALINAS-GARCIA,

                       Plaintiff,                No. 20-CV-1027 (LAP)

    -against-                                    No. 04-CR-603 (LAP)

    UNITED STATES OF AMERICA,                     MEMORANDUM & ORDER

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

        Before the Court is pro se Plaintiff Jose Fernando Salinas-

Garcia’s motion to vacate, set aside, or correct his sentence

under 28 U.S.C. § 2255.        (Dkt. no. 1). 1   For the reasons set

forth below, the motion is DENIED.

        The Court assumes the parties’ familiarity with the facts

of the case and will only give a high-level overview of

pertinent background information.          Mr. Salinas-Garcia pleaded

guilty to conspiracy to distribute and possession with intent to

distribute cocaine, in violation of 21 U.S.C. § 846.             (Dkt. no.

135 in 04-CR-603).       On May 24, 2006, the Court entered final

judgment sentencing him to 235 months’ imprisonment.             (Id.).

Because he did not appeal, Mr. Salinas-Garcia’s conviction




1 All docket cites in this opinion, unless noted otherwise, shall
refer to the docket in 20-CV-1027.

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became final on June 8, 2006. 2

     On February 5, 2020, the Court received Mr. Salinas-

Garcia’s “Demand to Abate or Vacate Void Judgment,” (dkt. no.

1), which the Court has construed as a motion for relief under

§ 2255, (see dkt. no. 4).     On February 18, 2020, the Court

ordered Mr. Salinas-Garcia to file, within sixty days, a

declaration showing cause why his motion should not be denied as

time-barred.   (Id.).

     On April 13, 2020, the Court received Mr. Salinas-Garcia’s

letter dated March 27, 2020.      (Dkt. no. 6).     That letter

maintained that Mr. Salinas-Garcia’s motion was, in fact, not a

28 U.S.C. § 2255 petition.     (Id. at 1).     Instead, Mr. Salinas-

Garcia averred that he was “clear in his filings” and that the

Court lacked jurisdiction.     (Id.).    He closed by declining the

Court’s offer to file a declaration.       (Id.).    At no point did

Mr. Salinas-Garcia attempt to explain how his motion--filed more

than thirteen years after his conviction became final--was

timely.


2 See Moshier v. United States, 402 F.3d 116, 118 (2d Cir. 2005)
(per curiam) (“[F]or purposes of § 2255 motions, an unappealed
federal criminal judgment becomes final when the time for filing
a direct appeal expires.”); FED. R. APP. P. 4(b)(1)(A)(i) (2006)
(“In a criminal case, a defendant’s notice of appeal must be
filed in the district court within 10 days after the later of
. . . the entry of either the judgment or the order being
appealed.”); see also id. 26(a)(2) (computing time by excluding
“intermediate Saturdays, Sundays, and legal holidays when the
period is less than 11 days”).
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     A one-year limitations period applies to § 2255 motions.

28 U.S.C. § 2255(f).       Because Mr. Salinas-Garcia filed his

§ 2255 motion more than one year after his conviction became

final, his motion is DENIED as time-barred.           See id.

§ 2255(f)(1).      Because Mr. Salinas-Garcia has not made a

substantial showing of a denial of a constitutional right, a

certificate of appealability will not issue.           See id. § 2253(c).

The Court certifies that any appeal from this Order would not be

taken in good faith.       See id. § 1915(a)(3); Coppedge v. United

States, 369 U.S. 438, 444–45 (1962). The Clerk of the Court is

directed (1) to mark this action closed and all pending motions

denied as moot and (2) to mail a copy of this order to Mr.

Salinas-Garcia.

SO ORDERED.


Dated:       October 21, 2020
             New York, New York


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                               LORETTA A. PRESKA
                               Senior United States District Judge




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